Case 3:13-cv-00017-HTW-LRA Document 1-1 Filed 01/07/13 Page 1 of 32

U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
BIRMINGHAM DISTRICT OFFICE
Ridge Park Place, Suite 2000
1130 - 22" Street, South
Birmingham, AL 35205-2870

IN THE MATTER OF:
Shirley Skipper-Scott ]

Complainant,
Vv EEOC# 420-201 1-00209%
Eric Holder, ) Agency# BOP-2011-0103
Attorney General, ]
Department Of Justice,

Agency.

ORDER ENTERING JUDGMENT

 

For the reasons set forth in the enclosed decision, judgment in the above captioned
matter is hereby entered in favor of the Agency. A notice to the parties explaining their appeal
rights follows the Administrative Judge’s decision,

Only the parties’ pre-hearing submissions, accompany this decision. The EEOC will
keep the Investigative and Complaint Files for sixty (60) days from the date of this notice. If
the Agency, wants the files forwarded, it should notify the undersigned immediately.

Otherwise, at the expiration of the aforementioned period, the aforesaid files will be destroyed.

7/12/2012 Gunice Ht. Morrow

DATE EUNICE H. MORROW
Administrative Judge
Eunice.morrow@eeoc. gov

 

 

 
 

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CERTIFICATE OF MAILING

 

For timeliness purposes, the Commission will presume that this Order was received within five
(5) calendar days of mailing. I certify that the Order was mailed to complainant,
complainant's representative (if applicable), and the agency on the above date.

Shirley-Skipper-Scott
4301 Raleigh Court
Apt. 1308

Midland, TX 79707

Alicia Daniels-Lewis

Assistant General Counsel

Federal Bureau of Prisons

Labor Law Branch/Atlanta Satellite Office
3800 Camp Creek Parkway, Bldg. 2000
Atlanta. GA 30331

Mark L. Gross

Complaint Adjudication Office
U.S. Department of Justice

950 Pennsylvania Avenue, NW
Civil Rights Division, CAO, PHB
Washington, DC 20530

EUNICE H. MORROW
Administrative Judge

 

 

 

 

 
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U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
BIRMINGHAM DISTRICT OFFICE
Ridge Park Place, Suite 2000:
1130 - 22" Street, South
Birmingham, AL 35205-2870

IN THE MATTER OF:

Shirley Skipper-Scott
Complainant,

EEOC# 420-201 1-00209X

Vv

Eric Holder,
Attorney General,

Agency# BOP-2011-0103

Department Of Justice,
Agency.

DECISION

BEFORE: EUNICE H. MORROW
Administrative Judge

FOR THE COMPLAINANT: Shirley Skipper-Scott
4301Raleigh Court
Apartment #1308
Midland, TX 79707

FOR THE AGENCY: . Alicia Daniels-Lewis

Federal Bureau of Prisons
Labor Law Branch

38 Camp Creek Parkway, SW
Bldg. 2000

Atlanta, GA 30331-6226

 

 
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I. INTRODUCTION

The following findings and conclusions are being issued, without a hearing, pursuant to
C.F.R. Section 1614.109(g)(1).

Il. BACKGROUND

Complainant filed a complaint of discrimination wherein she alleged that she was
discriminated against on the basis of reprisal (prior EEO activity), when on September 30, 2010,
she received an unfavorable yearly evaluation, preventing her from transferring or getting
promoted.

Informal efforts to resolve Complainant’s Complaint of Discrimination were
unsuccessful. Consequently, Complainant requested a hearing before an EEOC Administrative
Judge (“AJ”).

Following a review of the Investigative Record, the Administrative Judge issued an
Acknowledgment and Order on September 27, 2011, which, among other things, gave the parties
seventy-five (75) days in which to conduct discovery and to supplement the Investigative
Record. Thereafter, on April 27, 2012, the Agency served its Motion for a Decision Without a
Hearing.

The Hearing record consists of the following documents: the Acknowledgment and
Order; Order to Produce file, request for a hearing; Complainant’s claim of compensatory
damages; Complainant’s witness list; the Agency’s designation of representative; Order to Show

Cause; the Investigative file; the Agency’s witness list and, Findings and Conclusions of Law in

support of a Motion for a Decision without a Hearing.

 
 

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Tl. ISSUE

Whether Complainant was discriminated against on the basis of reprisal (prior EEO

activity), when on September 30, 2010, she received an unfavorable yearly evaluation
IV. FINDINGS OF FACT

The Administrative Judge hereby finds as follows, with respect to the accepted issues and
underlying facts:

1. The AJ finds that this case involves allegations of discrimination, under the reprisal
theory of discrimination. The allegations are based on circumstantial evidence. There is no
direct evidence of discrimination. The AJ further finds that the Investigative Record is adequate
and that no further development of the record is necessary, in order to fairly adjudicate
Complainant’s allegations of discrimination.

2. At all times relevant to the instant Complaint, Shirley Skipper Scott, was
employed by the Federal Bureau of Prisons, Federal Correctional Complex, Yazoo City,

Mississippi as a GS-12, Deputy Case Management Coordinator. (“ROI”) Ex. 7, pg. 4.

3. Complainant most recently engaged in prior protected activity in May 2009.
Agency Attachment A.
4. Complainant’s first-line supervisor and rating official was Ms. Angela Scott,

GS-13 Case Management Coordinator. Ms. Scott was aware of Complainant’s prior protected
activity. (“ROI”) Ex. 7, pg. 4; Ex. 8, pgs. 2-4.
5. Complainant’s Performance Evaluation for the October 1, 2009-September 30,

2010, rating period was an overall “Excellent.” (“ROT”) Ex. 7, pg. 4; (“ROI”) Ex. 8, pg. 4; Ex.

21c, pg. 2.

 

 
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6. In 2009, the Bureau of Prisons implemented a new performance’ system for
non-bargaining staff. The new system entitled Performance Work Plan, (PWP), required that
the employee being rated receive a numerical rating between 1 and 5 in each rating category.
The numerical rating is then multiplied by a Weight Factor to arrive at a total score in a
particular element. The total score for each element is then added together to arrive at an
Overall Summary Rating. The overall summary rating is as follows: 461-500=Outstanding;
361-460 =Excellent; 261-360=Achieved Results; 200-260=Minimally Satisfactory; and less than
200=Unsatisfactory. (“ROT”) Ex. 8, pg. 5; Ex. 21c, pg. 1.

7. In the Element of Organizational Results, Complainant received the maximum
score of 5 which was multiplied by the weight factor of 60 for a total of 300. In the Element of
People/Workforce/ & Communication/Teamwork, Complainant received a score of 3, which was
multiplied by the pre-determined weight factor of 20, for a total of 60. Finally in the Element of
Taxpayer Value, Complainant received the Element Rating Score of 4, which was multiplied by
the pre-determined Weight Factor of 20, for a total of score of 80. The sum of each total score
resulted in Complainant achieving and overall score of 440 points, which equated to a rating of
“Excellent (361-460),” for the performance year. (“ROI”) Ex. 21c, pgs.1-10.

8. Ms. Scott testimony indicates that Complainant had issues as it related to
communication with her supervisor and some of the other staff at the institution. Specifically,
Ms. Scott asserts that Complainant fails to communicate or update her when issues arise, and
Complainant “failed to go through her supervisor for notification, justification, or anything of
that nature.” Additionally, Ms. Scott asserts that when Complainant serves as the Acting (CMC)
she fails to update her on issues that she needs to know about. Additionally, Ms. Scott asserts

she often gets questions from other institutions on issues which have been handled by

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Complainant; however, Complainant leaves her out of the loop; and e-mails the Associate
Warden directly. Finally, Ms. Scott testified that when Complainant attends Monday Morning
Administrator Meetings where supervisors advise each other of issues in the institution,
Complainant often fails to give her all relevant information. (“ROI”) Ex. 8, pgs. 7-12; Ex. 10,
pg. 4.

9. In response, to Ms. Scott’s testimony that Complainant does not inform her of
what has occurred during Ms. Angela Scott's absence from the office, Complainant asserts that
she has only served as Acting Case Management Coordinator, in Ms. Angela Scott's position,
since 2009. Complainant states that she does not have Ms. Angela Scott's home telephone
number on "speed dial" as do others in the division. Complainant further states, "If I am acting
on her behalf and she is at home, on vacation out of town or whatever the case maybe [sic], she
shouldn't be concerned with what happened on the job. She returns and there aren't any issues in
the office, she should be giving me praise because I handle every situation and don't bother her."
(“ROT”), Ex. 7b, pgs. 2-4, 8-10.

10. Complainant asserts that her receipt of an “Excellent” performance rating has
played a major role in her competing for certain jobs and has prevented her from getting raises.
(“ROT”) Ex. 7, pgs. 6, 11.

11. Complainant was promoted from Deputy Case Management Coordinator to the
position of Case Management Coordinator in June 2011. Agency’s Exhibit B.

V. SUMMARY DISPOSITION

The Commission's regulations at 29 C.F.R. § 1614.109(g)(3) provide that if the

Administrative Judge determines that there are no genuine issues of material fact, he/she may

issue recommended findings of Fact and Conclusions of Law without a hearing. This regulation

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is closely modeled after Rule 56(c), of the Federal Rules of Civil Procedure ("Rule 56").

Rule 56 allows the trial judge to grant Summary Judgment, if he/she determines that there
is no genuine issue of material fact with respect to the plaintiff's claim, and that the moving party
is entitled to judgment as a matter of law. Beard v. Whitley County REML, 840 F.2d 405,
409-410, (7th Cir. 1988).

A defendant may prevail on a Summary Judgment Motion in alternate ways. The
defendant may show that the plaintiff can raise no genuine issue of fact as to one or more
elements of the plaintiff's prima facie case. The defendant may also introduce evidence of a
nondiscriminatory animus and show that the plaintiff can raise no genuine issue of fact as to
whether the proffered reason is a pretext for discrimination. Sprangle v. Valley Forge Sewer
Authority, 839 F.2d 171, 173 Grd Cir. 1988), citing Chipollini v. Spencer Gifts, Inc., 814 F.2d
893 (3d Cir. 1987). See also, Celotex Corp. v. Catrett, 477 U.S. 317, 327, 106 S.Ct. 2548, 2555,
91 L.Ed.2d 265 (1986).

Once the Motion for Summary Judgment is made the burden shifts to the non-moving
party (Complainant) to "...set forth specific facts showing that there is a genuine issue for trial."
Anderson v. Liberty Lobby Inc., 477 U.S. 242, 250 (1986). An issue is genuine, if the evidence
is such that a reasonable fact-finder could find in Complainant's favor. Oliver _v. Digital
Equipment Corp., 846 F.2d 103, 105 (1st Cir. 1988).

The moving party bears the burden of demonstrating the absence of a genuine dispute as
to a material fact. See Celotex, 477 US. at 322-23: Lordmann Enterprises, Inc. v. Equicar,
Inc. 32 F.3d 1529, 1532 (11th Cir. 1994). The moving party's burden is discharged by
demonstrating "an absence of evidence to support the nonmoving party's case." Celotex, 477

U.S. at 325. In assessing whether the movant has met this burden, the trier of fact must view the

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evidence and all factual inferences in the light most favorable to the party opposing the motion.
See Reynolds v. Bridgestone/Firestone, Inc., 989 F.2d 465, 469 (11th Cir. 1993).

Once the moving party has met its burden, the non-moving party has the burden of
showing summary judgment is improper by coming forward with specific facts that demonstrate
that there is a genuine issue. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248-50
(1986). Only facts that may affect the outcome of the case under governing law are "material":
factual disputes that are irrelevant or unnecessary do not operate to deprive a moving party of
summary judgment. Anderson, 477 U.S. at 248. Similarly, a motion for summary judgment
will not be defeated by factual disputes that are not "genuine." Id. Applicable substantive law
identifies those facts that are material. Id.

Mere allegations or denials of the adverse party's pleadings are not enough to prevent
summary judgment. See Fed.R.Civ.P. 56(e). The non-moving party "must do more than simply
show that there is some metaphysical doubt as to the material facts," and instead must come
forward with specific facts showing there is a genuine issue for trial. Matsushita Electrical
Industrial Co. v. Zenith Radio Corp., 475 U.S. 574, 586-87 (1986). For factual issues to be
genuine, they must have a real basis in the record. Id. at 587. Affidavits offering only
"conclusory allegations without specific supporting facts" have no probative value. Evers v.
General Motors Corp., 770 F.2d 984, 986 (11th Cir. 1985). A dispute is genuine if "the
evidence is such that a reasonable jury could return a verdict for the nonmoving party."
Anderson, 477 U.S. at 248.

A nonmoving party must provide "more than a mere scintilla of evidence to survive a
motion for summary judgment as a matter of law;" such party must show "a substantial conflict

in evidence to support a jury question." Jones v. Bessemer Carraway Medical Center, 137 F.3d

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1306, 1310 (11th Cir. 1998), quoting Isenbergh v. Knight-Ridder Newspaper Sales Inc., 97 F.3d
436, 439 (11th Cir. 1996). As the Supreme Court has stated, "[s]ummary judgment procedure is
properly regarded not as a disfavored procedural shortcut, but rather as an integral part of the
Federal Rules as a whole, which are designed to ‘secure the just, speedy and inexpensive
determination of every action."". Celotex, 477 U.S. at 327.
VI. CONCLUSIONS OF LAW

1. A complainant must first establish a prima facie case of discrimination by
presenting facts that, if unexplained, reasonably give rise to an inference of discrimination, i.e.,
that a prohibited reason was a factor in the adverse employment action. McDonnell Douglas
Corporation v. Green, 411 U.S. 792 (1973); Furnco Construction Corp. v. Waters, 438 U.S. 567
(1978). Next, the agency must articulate a legitimate, nondiscriminatory reason for its action(s).
Texas Department of Community Affairs v. Burdine, 450 U.S. 248 (1981). After the agency
has offered the reason for its action, the burden returns to the complainant to demonstrate, by a
preponderance of the evidence, that the agency's reason was pretextual, that is, it was not the true
reason and action was influenced by legally impermissible criteria. Burdine, 450 U.S. at 253;
St. Mary's Honor Center v. Hicks, 509 U.S. 502 (1993).

Reprisal

2. In general, claims alleging reprisal discrimination are examined under the
tripartite analysis first enunciated in McDonnell Douglas, discussed, supra. Hochstadt_v.
Worcester Foundation for Experimental Biology, Inc., 425 F. Supp. 318, 324 (D. Mass.), aff'd,
545 F.2d 222 (1st Cir. 1976).

3. To establish a prima facie case of reprisal, Complainant must show that (1) she

engaged in prior protected activity; (2) the acting agency official was aware of the protected

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activity; (3) she was subsequently disadvantaged by an adverse action; and, (4) there is a causal
link. The causal connection may be shown by evidence that the adverse action followed the
protected activity within such a period of time and in such a manner that a reprisal motive is
inferred. Simens v. Department_of Justice, EEOC Request No. 05950113 (March 28, 1996)
(citations omitted). Generally, the Commission has held that nexus may be established if events
occurred within one year of each other. Patton v. Department of the Navy, EEOC Request No.
05950124 (June 27, 1996).

4, The evidence herein does not establish a prima facie case of reprisal, with respect
to Complainant’s claim that, because of her prior EEO activity, she was given an “Excellent”
rating on her performance appraisal.

5. Complainant has established that she engaged in protected activity when she
filed her EEO complaint in 2009. However, she has failed to demonstrate that she was
subjected to an adverse employment action or that she is aggrieved.

6. In retaliation claims, adverse actions need not qualify as “ultimate employment
actions” or materially affect the terms and conditions of employment to constitute retaliation.
Lindsey v. United States Postal Service, EEOC Request No. 05980410 (Nov. 4, 1999) (citing,
EEOC Compliance Manual, Section 8, Retaliation (May 20, 1998)). Instead, the statutory
retaliation clause prohibits any adverse treatment that is based upon a retaliatory motive and is
reasonably likely to deter complainant or others from engaging in protected activity. Id.

7. Complainant’s most recent EEO activity, however, was initiated in or around May
2009, more than 12 months earlier than the alleged retaliatory event in the instant case.
Therefore, the AJ finds that she fails to establish a causal connection between the protected

activity and the alleged adverse action - Ms. Scott’s action in giving her an “Excellent” on her

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evaluation instead of “Outstanding”. Furthermore, Complainant has advanced no other
evidence to show that her rating on her evaluation was because of her prior EEO activity, or
because of a discriminatory animus against her. Moreover, Complainant has failed to
demonstrate that she is likely to be deterred from engaging in future protected activity by virtue
of having been awarded an “Excellent” performance rating.
VII. CONCLUSION

The available evidence does not support Complainant's allegations of discrimination.
Moreover, there is no genuine dispute, under the Summary Judgment standards discussed above,
with respect to a material fact and no genuine issue as to credibility which would warrant a
hearing on the merits of Complainant's allegations of discrimination. Therefore, a summary
disposition of the above numbered complaint, without a hearing, is appropriate.

NOTICE

This is a decision by an Equal Employment Opportunity Commission Administrative Judge
issued pursuant to C.F.R. §1614.109(b), 109(g) or 109(/). EEOC regulations require the Agency
to take final action on the complaint by issuing a final order within 40 calendar days of receipt of
the hearing file and this decision. The Agency's final order shall notify the complainant whether
or not the Agency will fully implement this decision, and shall contain notice of the
complainant's right to appeal to the Commission, the right to file a civil action in federal district
court, the name of the proper defendant in any such lawsuit and the applicable time limits for
such appeal or lawsuit. With the exception detailed in the next paragraph, complainant may
not file an appeal to the Commission directly from this decision. Rather, complainant may
appeal to the Commission within 30 calendar days of receipt of the Agency's final order
concerning its implementation of this decision. If the final order does not fully implement this
decision, the Agency must also simultaneously file an appeal to the Commission in accordance
with 29 C.F.R. §1614.403, and append a copy of the appeal to the final order. A copy of EEOC
Form 573 must be attached to the final order.

Complainant may only appeal directly from this decision in the event that the Agency has not
issued its final order within 40 calendar days of its receipt of the hearing file and this decision.
In this event, the complainant should append a copy of the Administrative Judge's decision to the
appeal. The complainant should furnish a copy of the appeal to the opposing party at the same
time it is filed with the Commission, and should certify to the Commission the date and method
by which such service was made on the opposing party.

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All appeals to the Commission must be filed by mail, personal delivery or facsimile to the
following address:

Director

Office of Federal Operations

Equal Employment Opportunity Commission
131 M Street, NE Washington, DC 20507

Facsimile transmissions over 10 pages will not be accepted.

For further guidance regarding appeals, the parties may consult 29 C.F.R. §1614.401 et seq. and
Chapter 10 of the Commission's Management Directive-110. These documents are available on
the EEOC's website at EEOC.GOV.

COMPLIANCE WITH AN AGENCY FINAL ACTION

Pursuant to 29 C.F.R. §1614.504, an Agency's final action that has not been the subject of an
appeal to the Commission or civil action is binding on the Agency. If the complainant believes
that the Agency has failed to comply with the terms of its final action, the complainant shall
notify the Agency's EEO Director, in writing, of the alleged noncompliance within 30 calendar
days of when the complainant knew or should have known of the alleged noncompliance. The
Agency shall resolve the matter and respond to the complainant in writing. Ifthe complainant is
not satisfied with the Agency's attempt to resolve the matter, the complainant may appeal to the
Commission for a determination of whether the Agency has complied with the terms of its final
action. The complainant may file such an appeal within 30 calendar days of receipt of the
Agency's determination or, in the event that the Agency fails to respond, at least 35 calendar
days after complainant has served the Agency with the allegations of noncompliance. A copy of
the appeal must be served on the Agency, and the Agency may submit a response to the
Commission within 30 calendar days of receiving the notice of appeal.

7/12/2012 Gunece HL Morrow

EUNICE H. MORROW
Administrative Judge
eunice.morrow@ecoc.gov

 

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Document L-

CERTIFICATE OF MAILING

For timeliness purposes, the Commission will presume that this decision was received within
five (5) calendar days of mailing. I certify that the decision was mailed to complainant,
complainant's representative, and the agency on the above date.

Shirley-Skipper-Scott
4301 Raleigh Court
Apt. 1308

Midland, TX 79707

Alicia Daniels-Lewis

Assistant General Counsel

Federal Bureau of Prisons

Labor Law Branch/Atlanta Satellite Office
3800 Camp Creek Parkway, Bldg. 2000
Atlanta. GA 30331

Mark L. Gross

Complaint Adjudication Office
U. S. Department of Justice

950 Pennsylvania Avenue, NW
Civil Rights Division, CAO, PHB
Washington, DC 20530

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EUNICE H. MORROW
Administrative Judge

 

 
 

 

Page 1 of 1

Shirley Skipper-Scott - Re: Fwd: Agency#BOP-2011-0103 /EEOC#420-2011-
00209X

SSE NSE ESN A SUR

 

 

AEE RISE SP NSIC ES TEES SSS SE SSS AN SS PERE

 

From: "EUNICE MORROW" <EUNICE.MORROW@EEOC.GOV>

To: "Shirley Skipper-Scott" <sskipperscott@bop.gov>

Date: 12/9/2011 3:55 PM

Subject: Re: Fwd: Agency#BOP-2011-0103/EEOC#420-2011-00209X

 

I have prepared an Order reopening your case, with notice to the agency.
Thank you for contacting me.

>>> "Shirley Skipper-Scott" <sskipperscott@bop.gov> 12/9/2011 9:49 AM >>>
Dear Judge Morrow:

I just spoke with you via the telephone concerning a letter I received from you indicating that you were
dismissing my case due to an inability to locate me. I initially filed by case in Mississippi due to being employed
at the Federal Correctional Complex, Yazoo City, Mississippi. On August 14, 2011, I transferred to the Federal
Correctional Institution, Big Spring, Texas. I have documentation to show that I purchased a Post Office box in
Midland, Texas and submitted a change of address form to ensure that my mail was forwarded. Furthermore, I
received a prior letter from you and there was no reason for me to be alarmed that you could not locate me.
Additionally, I received your letter indicating your were dismissing my case (which was mailed to my address in
Mississippi); therefore, this shows that you were able to locate me. Prior to receiving your Order of Dismissal, I
faxed and mailed appropriately a month ago to your office and to the EEOC in Washington a letter, which
indicated my new address. A month ago, I went to the Post Office in Canton, Mississippi and I made sure

that my mail is being forwarded. I am trying to show you that I took every measure to ensure that I received
my mail.

I am respectfully requesting that you review my situation and re-open my case. I have a lot of money, undue
stress and time invested in my case to have it thrown out because of a technicality such as this.

Thanking you in advance for your assistance in this matter. Iam looking forward to hearing from you as soon
as possible so that if my request to re-open my case isn't approved, I can take the next step. Below is my
contact information:

Shirley Skipper-Scott

Address: 4301 Raleigh Court #1308 (I maintained the Post Office box so that I could continue to get my mail
forwarded and to ensure I would receive my mail)

Work Number: 432-466-2300, ext. 1450

Home Number: 601-988-7452

e-mail address: sskipperscott@bop.gov
 

Case 3:13-cv-00017-HTW-LRA Document i-1 Filed 01/07 age

#% JOB STATUS REPORT ** AS OF JAN O07 2012 00:24 PAGE. 01

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JOB #789
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U.S. Department of Justice

 

Federal Bureau of Prisons

 

Federal Correctional Institution Big Spring, Texas 79720

January 4, 2012

MEMORANDUM ALL CONCERNED

FROM: GRA | p

BOP-2011-0103

 
 
 

gency Complaint

SUBJECT; Address Change

This is to notify you that my address has changed to the following:
4301 Raleigh Court, Midland, Texas 79707.
 

 

* Case 3:13-cv-00017-HTW-LRA Document 1-1 Filed 01/07/13 Page 17 of 32

U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
BIRMINGHAM DISTRICT OFFICE
Ridge Park Place, Suite 2000
1130 - 22" Street, South
Birmingham, AL 35205-2870

IN THE MATTER OF:

Shirley Skipper-Scott
Complainant,

EEOC# 420-201 1-00209X

v

Eric Holder,
Attorney General,

Agency# BOP-2011-0103

Department Of Justice,

oe en a en on oe

Agency.

ORDER OF DISMISSAL

The hearing request in the above styled case is being dismissed, pursuant to Title 29
C.F.R. §1614.107(a)(6), due to an inability to locate the Complainant. Mail sent by the
Administrative Judge to Complainant’s last known address was returned as not being
deliverable.

Accordingly, the investigative file is being returned for a final agency decisions.

IT IS SO ORDERED this 21" day of November, 2011.

For the Commission: Cuntce Se WMorvow

EUNICE H. MORROW
Administrative Judge

Eunice.morrow(@eeoc. gov
(205) 212-2065

 
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CERTIFICATE OF MAILING

For timeliness purposes, it shall be presumed that the parties received the foregoing ORDER
within five (5) calendar days after the date they were sent via first class mail. I certify that the

foregoing ORDER was sent on the date above via first class mail to the following:

Alicia Daniels-Lewis

Federal Bureau of Prisons
Labor Law Branch

3800 Camp Creek Parkway, SW
Building 2000

Atlanta, GA 303331-6226

Mark L. Gross

Complaint Adjudication Office
U. S. Department of Justice

950 Pennsylvania Ave. NW

Civil Rights Division, CAO, PHB
Washington, DC 20530

Ms. Shirley Skipper-Scott
126 Southwood Drive
Canton, MS 39046

EUNICE H. MORROW
Administrative Judge

 
 

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U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
BIRMINGHAM DISTRICT OFFICE
Ridge Park Place, Suite 2000
1130 - 22" Street, South
Birmingham, AL 35205-2870

IN THE MATTER OF:
Shirley Skipper-Scott

Complainant,
Vv

EEOC# 420-2011-00209X

Eric Holder,
Attorney General,

Agency# BOP-2011-0103

Department Of Justice,
Agency.

DECISION

BEFORE: EUNICE H. MORROW
Administrative Judge

FOR THE COMPLAINANT: Shirley Skipper-Scott
4301Raleigh Court
Apartment #1308
Midland, TX 79707

FOR THE AGENCY: Alicia Daniels-Lewis

Federal Bureau of Prisons
Labor Law Branch

38 Camp Creek Parkway, SW
Bldg. 2000

Atlanta, GA 30331-6226

 
 

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I. INTRODUCTION

The following findings and conclusions are being issued, without a hearing, pursuant to
C.F.R. Section 1614.109(g)(1).

II. BACKGROUND

Complainant filed a complaint of discrimination wherein she alleged that she was
discriminated against on the basis of reprisal (prior EEO activity), when on September 30, 2010,
she received an unfavorable yearly evaluation, preventing her from transferring or getting
promoted.

Informal efforts to resolve Complainant’s Complaint of Discrimination were
unsuccessful. Consequently, Complainant requested a hearing before an EEOC Administrative
Judge (“AJ”).

Following a review of the Investigative Record, the Administrative Judge issued an
Acknowledgment and Order on September 27, 2011, which, among other things, gave the parties
seventy-five (75) days in which to conduct discovery and to supplement the Investigative
Record. Thereafter, on April 27, 2012, the Agency served its Motion for a Decision Without a
Hearing.

The Hearing record consists of the following documents: the Acknowledgment and
Order; Order to Produce file, request for a hearing; Complainant’s claim of compensatory
damages; Complainant’s witness list; the Agency’s designation of representative; Order to Show

Cause; the Investigative file; the Agency’s witness list and, Findings and Conclusions of Law in

support of a Motion for a Decision without a Hearing.

 
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Il. ISSUE

Whether Complainant was discriminated against on the basis of reprisal (prior EEO

activity), when on September 30, 2010, she received an unfavorable yearly evaluation
IV. FINDINGS OF FACT

The Administrative Judge hereby finds as follows, with respect to the accepted issues and
underlying facts:

1. The AJ finds that this case involves allegations of discrimination, under the reprisal
theory of discrimination. The allegations are based on circumstantial evidence. There is no
direct evidence of discrimination. The AJ further finds that the Investigative Record is adequate
and that no further development of the record is necessary, in order to fairly adjudicate
Complainant’s allegations of discrimination.

2. At all times relevant to the instant Complaint, | Shirley Skipper Scott, was
employed by the Federal Bureau of Prisons, Federal Correctional Complex, Yazoo City,

Mississippi as a GS-12, Deputy Case Management Coordinator. (“ROI”) Ex. 7, pg. 4.

3. Complainant most recently engaged in prior protected activity in May 2009.
Agency Attachment A.
4, Complainant’s first-line supervisor and rating official was Ms. Angela Scott,

GS-13 Case Management Coordinator. Ms. Scott was aware of Complainant’s prior protected
activity. (“ROI”) Ex. 7, pg. 4; Ex. 8, pgs. 2-4.
5. Complainant’s Performance Evaluation for the October 1, 2009-September 30,

2010, rating period was an overall “Excellent.” (“ROI”) Ex. 7, pg. 4; (“ROT”) Ex. 8, pg. 4; Ex.

21c, pg. 2.

 

 

 
 

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6. In 2009, the Bureau of Prisons implemented a new performance system for
non-bargaining staff. The new system entitled Performance Work Plan, (PWP), required that
the employee being rated receive a numerical rating between 1 and 5 in each rating category.
The numerical rating is then multiplied by a Weight Factor to arrive at a total score in a
particular element. The total score for each element is then added together to arrive at an
Overall Summary Rating. The overall summary rating is as follows: 461-500=Outstanding;
361-460 =Excellent; 261-360=Achieved Results; 200-260=Minimally Satisfactory; and less than
200=Unsatisfactory. (“ROT”) Ex. 8, pg. 5; Ex. 21c, pg. 1.

7. In the Element of Organizational Results, Complainant received the maximum
score of 5 which was multiplied by the weight factor of 60 for a total of 300. In the Element of
People/Workforce/ & Communication/Teamwork, Complainant received a score of 3, which was
multiplied by the pre-determined weight factor of 20, for a total of 60. Finally in the Element of
Taxpayer Value, Complainant received the Element Rating Score of 4, which was multiplied by
the pre-determined Weight Factor of 20, for a total of score of 80. The sum of each total score
resulted in Complainant achieving and overall score of 440 points, which equated to a rating of
“Excellent (361-460),” for the performance year. (“ROI”) Ex. 21c, pgs. 1-10.

8. Ms. Scott testimony indicates that Complainant had issues as it related to
communication with her supervisor and some of the other staff at the institution. Specifically,
Ms. Scott asserts that Complainant fails to communicate or update her when issues arise, and
Complainant “failed to go through her supervisor for notification, justification, or anything of
that nature.” Additionally, Ms. Scott asserts that when Complainant serves as the Acting (CMC)
she fails to update her on issues that she needs to know about. Additionally, Ms. Scott asserts

she often gets questions from other institutions on issues which have been handled by

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Complainant; however, Complainant leaves her out of the loop; and e-mails the Associate

Warden directly. Finally, Ms. Scott testified that when Complainant attends Monday Morning
Administrator Meetings where supervisors advise each other of issues in the institution,
Complainant often fails to give her all relevant information. (“ROI”) Ex. 8, pgs. 7-12; Ex. 10,
pg. 4.

9. In response, to Ms. Scott’s testimony that Complainant does not inform her of
what has occurred during Ms. Angela Scott's absence from the office, Complainant asserts that
she has only served as Acting Case Management Coordinator, in Ms. Angela Scott's position,
since 2009. Complainant states that she does not have Ms. Angela Scott's home telephone
number on "speed dial" as do others in the division. Complainant further states, "If I am acting
on her behalf and she is at home, on vacation out of town or whatever the case maybe [sic], she
shouldn't be concerned with what happened on the job. She returns and there aren't any issues in
the office, she should be giving me praise because I handle every situation and don't bother her."
(“ROT”), Ex. 7b, pgs. 2-4, 8-10.

10. Complainant asserts that her receipt of an “Excellent” performance rating has
played a major role in her competing for certain jobs and has prevented her from getting raises.
(“ROT”) Ex. 7, pgs. 6, 11.

11. Complainant was promoted from Deputy Case Management Coordinator to the
position of Case Management Coordinator in June 2011. Agency’s Exhibit B.

V. SUMMARY DISPOSITION

The Commission's regulations at 29 C.F.R. § 1614.109(g)(3) provide that if the

Administrative Judge determines that there are no genuine issues of material fact, he/she may

issue recommended findings of Fact and Conclusions of Law without a hearing. This regulation

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is closely modeled after Rule 56(c), of the Federal Rules of Civil Procedure ("Rule 56").

Rule 56 allows the trial judge to grant Summary Judgment, if he/she determines that there
is no genuine issue of material fact with respect to the plaintiff's claim, and that the moving party
is entitled to judgment as a matter of law. Beard v. Whitley County REML, 840 F.2d 405,
409-410, (7th Cir. 1988).

A defendant may prevail on a Summary Judgment Motion in alternate ways. The
defendant may show that the plaintiff can raise no genuine issue of fact as to one or more
elements of the plaintiff's prima facie case. The defendant may also introduce evidence of a
nondiscriminatory animus and show that the plaintiff can raise no genuine issue of fact as to
whether the proffered reason is a pretext for discrimination. Sprangle v. Valley Forge Sewer
Authority, 839 F.2d 171, 173 (rd Cir. 1988), citing Chipollini v. Spencer Gifts, Inc., 814 F.2d
893 (3d Cir. 1987). See also, Celotex Corp. v. Catrett, 477 U.S. 317, 327, 106 S.Ct. 2548, 2555,
91 L.Ed.2d 265 (1986).

Once the Motion for Summary Judgment is made the burden shifts to the non-moving
party (Complainant) to "...set forth specific facts showing that there is a genuine issue for trial."
Anderson v. Liberty Lobby Inc., 477 U.S. 242, 250 (1986). An issue is genuine, if the evidence
is such that a reasonable fact-finder could find in Complainant's favor. Oliver y. Digital
Equipment Corp., 846 F.2d 103, 105 (1st Cir. 1988).

The moving party bears the burden of demonstrating the absence of a genuine dispute as
to a material fact. See Celotex, 477 U.S. at 322-23; Lordmann Enterprises, Inc. v. Equicar,
Inc. 32 F.3d 1529, 1532 (11th Cir. 1994). The moving party's burden is discharged by
demonstrating "an absence of evidence to support the nonmoving party's case." Celotex, 477

U.S. at 325. In assessing whether the movant has met this burden, the trier of fact must view the

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evidence and all factual inferences in the light most favorable to the party opposing the motion.
See Reynolds v. Bridgestone/Firestone, Inc., 989 F.2d 465, 469 (11th Cir. 1993).

Once the moving party has met its burden, the non-moving party has the burden of

 

showing summary judgment is improper by coming forward with specific facts that demonstrate
that there is a genuine issue. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248-50
(1986). Only facts that may affect the outcome of the case under governing law are "material":
factual disputes that are irrelevant or unnecessary do not operate to deprive a moving party of
summary judgment. Anderson, 477 U.S. at 248. Similarly, a motion for summary judgment
will not be defeated by factual disputes that are not "genuine." Id. Applicable substantive law
identifies those facts that are material. Id.

Mere allegations or denials of the adverse party's pleadings are not enough to prevent
summary judgment. See Fed.R.Civ.P. 56(e). The non-moving party "must do more than simply
show that there is some metaphysical doubt as to the material facts," and instead must come
forward with specific facts showing there is a genuine issue for trial. Matsushita Electrical

Industrial Co. v. Zenith Radio Corp., 475 U.S. 574, 586-87 (1986). For factual issues to be

 

genuine, they must have a real basis in the record. Id. at 587. Affidavits offering only
"conclusory allegations without specific supporting facts" have no probative value. Evers v.
General Motors Corp., 770 F.2d 984, 986 (11th Cir. 1985). A dispute is genuine if "the
evidence is such that a reasonable jury could return a verdict for the nonmoving party."
Anderson, 477 U.S. at 248.

A nonmoving party must provide "more than a mere scintilla of evidence to survive a
motion for summary judgment as a matter of law;" such party must show "a substantial conflict

in evidence to support a jury question." Jones v. Bessemer Carraway Medical Center, 137 F.3d

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1306, 1310 (11th Cir. 1998), quoting Isenbergh v. Knight-Ridder Newspaper Sales Inc., 97 F.3d
436, 439 (11th Cir. 1996). As the Supreme Court has stated, "[s]ummary judgment procedure is

properly regarded not as a disfavored procedural shortcut, but rather as an integral part of the

 

Federal Rules as a whole, which are designed to 'secure the just, speedy and inexpensive
determination of every action." Celotex, 477 U.S. at 327.
VI. CONCLUSIONS OF LAW

1. A complainant must first establish a prima facie case of discrimination by
presenting facts that, if unexplained, reasonably give rise to an inference of discrimination, 1.e.,
that a prohibited reason was a factor in the adverse employment action. McDonnell Douglas
Corporation v. Green, 411 U.S. 792 (1973); Furnco Construction Corp. v. Waters, 438 U.S. 567
(1978). Next, the agency must articulate a legitimate, nondiscriminatory reason for its action(s).
Texas Department of Community Affairs v. Burdine, 450 U.S. 248 (1981). After the agency
has offered the reason for its action, the burden returns to the complainant to demonstrate, by a
preponderance of the evidence, that the agency's reason was pretextual, that is, it was not the true
reason and action was influenced by legally impermissible criteria. Burdine, 450 U.S. at 253;
St. Mary's Honor Center v. Hicks, 509 U.S. 502 (1993).

Reprisal

2. In general, claims alleging reprisal discrimination are examined under the
tripartite analysis first enunciated in McDonnell Douglas, discussed, supra. Hochstadt_v.
Worcester Foundation for Experimental Biology, Inc., 425 F. Supp. 318, 324 (D. Mass.), aff'd,
545 F.2d 222 (1st Cir. 1976).

3. To establish a prima facie case of reprisal, Complainant must show that (1) she

engaged in prior protected activity; (2) the acting agency official was aware of the protected

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activity; (3) she was subsequently disadvantaged by an adverse action; and, (4) there is a causal

link. The causal connection may be shown by evidence that the adverse action followed the
protected activity within such a period of time and in such a manner that a reprisal motive is
inferred. Simens v. Department of Justice, EEOC Request No. 05950113 (March 28, 1996)
(citations omitted). Generally, the Commission has held that nexus may be established if events
occurred within one year of each other. Patton v. Department of the Navy, EEOC Request No.
05950124 (June 27, 1996).

4, The evidence herein does not establish a prima facie case of reprisal, with respect
to Complainant’s claim that, because of her prior EEO activity, she was given an “Excellent”
rating on her performance appraisal.

5. Complainant has established that she engaged in protected activity when she
filed her EEO complaint in 2009. However, she has failed to demonstrate that she was
subjected to an adverse employment action or that she is aggrieved.

6. In retaliation claims, adverse actions need not qualify as “ultimate employment
actions” or materially affect the terms and conditions of employment to constitute retaliation.

Lindsey v. United States Postal Service, EEOC Request No. 05980410 (Nov. 4, 1999) (citing,

 

EEOC Compliance Manual, Section 8, Retaliation (May 20, 1998)). Instead, the statutory
retaliation clause prohibits any adverse treatment that is based upon a retaliatory motive and is
reasonably likely to deter complainant or others from engaging in protected activity. Id.

7. Complainant’s most recent EEO activity, however, was initiated in or around May
2009, more than 12 months earlier than the alleged retaliatory event in the instant case.
Therefore, the AJ finds that she fails to establish a causal connection between the protected

activity and the alleged adverse action - Ms. Scott’s action in giving her an “Excellent” on her

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evaluation instead of “Outstanding”. Furthermore, Complainant has advanced no other
evidence to show that her rating on her evaluation was because of her prior EEO activity, or
because of a discriminatory animus against her. Moreover, Complainant has failed to
demonstrate that she is likely to be deterred from engaging in future protected activity by virtue
of having been awarded an “Excellent” performance rating.
VII. CONCLUSION

The available evidence does not support Complainant's allegations of discrimination.
Moreover, there is no genuine dispute, under the Summary Judgment standards discussed above,
with respect to a material fact and no genuine issue as to credibility which would warrant a
hearing on the merits of Complainant's allegations of discrimination. Therefore, a summary

disposition of the above numbered complaint, without a hearing, is appropriate.
NOTICE

This is a decision by an Equal Employment Opportunity Commission Administrative Judge
issued pursuant to C.F.R. §1614.109(b), 109(g) or 109(1). EEOC regulations require the Agency
to take final action on the complaint by issuing a final order within 40 calendar days of receipt of
the hearing file and this decision. The Agency's final order shall notify the complainant whether
or not the Agency will fully implement this decision, and shall contain notice of the
complainant's right to appeal to the Commission, the right to file a civil action in federal district
court, the name of the proper defendant in any such lawsuit and the applicable time limits for
such appeal or lawsuit. With the exception detailed in the next paragraph, complainant may
not file an appeal to the Commission directly from this decision. Rather, complainant may
appeal to the Commission within 30 calendar days of receipt of the Agency's final order
concerning its implementation of this decision. If the final order does not fully implement this
decision, the Agency must also simultaneously file an appeal to the Commission in accordance
with 29 C.F.R. §1614.403, and append a copy of the appeal to the final order. A copy of EEOC
Form 573 must be attached to the final order.

Complainant may only appeal directly from this decision in the event that the Agency has not
issued its final order within 40 calendar days of its receipt of the hearing file and this decision.
In this event, the complainant should append a copy of the Administrative Judge's decision to the
appeal. The complainant should furnish a copy of the appeal to the opposing party at the same
time it is filed with the Commission, and should certify to the Commission the date and method
by which such service was made on the opposing party.

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All appeals to the Commission must be filed by mail, personal delivery or facsimile to the
following address:

Director

Office of Federal Operations

Equal Employment Opportunity Commission
131 M Street, NE Washington, DC 20507

Facsimile transmissions over 10 pages will not be accepted.

For further guidance regarding appeals, the parties may consult 29 C.F.R. §1614.401 et seq. and
Chapter 10 of the Commission's Management Directive-110. These documents are available on
the EEOC's website at EEOC.GOV.

COMPLIANCE WITH AN AGENCY FINAL ACTION

Pursuant to 29 C.F.R. §1614.504, an Agency's final action that has not been the subject of an
appeal to the Commission or civil action is binding on the Agency. If the complainant believes
that the Agency has failed to comply with the terms of its final action, the complainant shall
notify the Agency's EEO Director, in writing, of the alleged noncompliance within 30 calendar
days of when the complainant knew or should have known of the alleged noncompliance. The
Agency shall resolve the matter and respond to the complainant in writing. If the complainant is
not satisfied with the Agency's attempt to resolve the matter, the complainant may appeal to the
Commission for a determination of whether the Agency has complied with the terms of its final
action. The complainant may file such an appeal within 30 calendar days of receipt of the
Agency's determination or, in the event that the Agency fails to respond, at least 35 calendar
days after complainant has served the Agency with the allegations of noncompliance. A copy of
the appeal must be served on the Agency, and the Agency may submit a response to the
Commission within 30 calendar days of receiving the notice of appeal.

7/12/2012 Gumice SM Morrow

EUNICE H. MORROW
Administrative Judge
eunice.morrow@eecoc. gov

 

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CERTIFICATE OF MAILING

For timeliness purposes, the Commission will presume that this decision was received within
five (5) calendar days of mailing. I certify that the decision was mailed to complainant,
complainant's representative, and the agency on the above date.

Shirley-Skipper-Scott
4301 Raleigh Court
Apt. 1308

Midland, TX 79707

Alicia Daniels-Lewis

Assistant General Counsel

Federal Bureau of Prisons

Labor Law Branch/Atlanta Satellite Office

3800 Camp Creek Parkway, Bldg. 2000
‘Atlanta. GA 30331

Mark L. Gross

Complaint Adjudication Office
U. S. Department of Justice

950 Pennsylvania Avenue, NW
Civil Rights Division, CAO, PHB
Washington, DC 20530

EUNICE H. MORROW
Administrative Judge

 

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